Case 2:15-ml-02668-PSG-JEM Document 886 Filed 01/30/23 Page 1 of 2 Page ID #:28903



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                                                     1/30/23
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    3                                                     LINK 884
    4
                           UNITED STATES DISTRICT COURT
    5
                         CENTRAL DISTRICT OF CALIFORNIA
    6

    7   IN RE: NATIONAL FOOTBALL              Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
    8   ANTITRUST LITIGATION                  [PROPOSED] ORDER
                                              REGARDING MODIFICATIONS
    9   THIS DOCUMENT RELATES TO              TO SCHEDULING ORDER
        ALL ACTIONS
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Case 2:15-ml-02668-PSG-JEM Document 886 Filed 01/30/23 Page 2 of 2 Page ID #:28904



    1            Having considered the parties’ Stipulation Regarding Modifications to
    2   Scheduling Order and finding good cause therein, the Court ORDERS that the
    3   schedule be adjusted as set forth below:
    4

    5                            Event                            Current         Proposed
    6    Hearing on Class Certification and Daubert             2/3/23          No change
         Motions
    7
         Plaintiffs Serve Opening Merits Expert Reports         2/10/23         2/17/23
    8
         Deadline for NFL to Serve Responsive Merits            4/21/23         4/28/23
    9    Expert Reports
   10    Plaintiffs to Serve Rebuttal Merits Expert             6/2/23          6/9/23
         Reports
   11    Close of Expert Discovery                              6/23/23         6/30/23
   12
         Summary Judgment Motions                               7/28/23         No change
   13

   14
         Summary Judgment Oppositions                           8/28/23         No change

   15    Summary Judgment Reply Briefs                          9/29/23         No change
   16    Summary Judgment Hearing Date                          10/27/23        No change
   17
         Final Pretrial Conference                              2/9/24          No change
   18
         Trial                                                  2/22/24         No change
   19

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   21            No other changes to the Court’s prior orders are contemplated as a result of the
   22   changes above.
   23

   24                                                    IT IS SO ORDERED.
   25
                  1/30/23
   26   Dated: ___________________                       ______________________________
                                                         PHILIP S. GUTIERREZ
   27                                                    Chief United States District Judge
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